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EXHIBIT A
Case 2:10-md-02179-CJB-DPC Document 5633-1 Filed 02/09/12 Page 2 of 11

Langan, Andrew

From: Steve Herman [SHERMAN@hhkc.com]

Sent: Tuesday, February 07, 2012 11:37 PM

To: Langan, Andrew

Ce: Jim Roy; dkhaycraft@liskow.com

Subject: MDL 2179 - supplemental submission on clawed-back document

I go back to our January 26th e-mail:

It was our understanding and belief that the Baxter Investigation was an investigation into
the root and/or systemic and/or management failures and/or causes of the Macondo disaster.

You said, and the Court agreed, that we were mistaken.

We will not inquire about the “Baxter Investigation" or a post-incident "forward-looking,
industry-wide analysis of various engineering and legal issues" "directed by counsel", if you
agree that we are free to ask whether or why BP did or did not conduct an investigation into
the root and/or systemic and/or management failures and/or causes of the Macondo disaster.

Thanks.

zon-- Original Message----~--

From: Langan, Andrew [mailto:alangan@kirkland.com]

Sent: Tuesday, February 97, 2812 3:26 PM

To: Steve Herman

Cc: Jim Roy; dkhaycraft@liskow. com

Subject: FW: MDL 2179 - supplemental submission on clawed-back document

Dear Steve -- checking in with you on this issue. Would appreciate you getting back to us
so we can see if there is an issue left for the Court.

Best regards

Andy

J. Andrew Langan, P.C.

KIRKLAND & ELLIS LLP
300 North LaSalle Street Chicago, IL 69654
Tel. +1-312-862-2064 Fax +1-312-862-2206

andrew. Llangan@kirkland.com

----- Original Message-----

From: Langan, Andrew

Sent: Saturday, January 28, 2612 6:44 AM

To: sherman@hhkc.com

Cc: Jim Roy; dkhaycraft@liskow. com

Subject: RE: MDL 2179 - supplemental submission on clawed-back document

Dear Steve:
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Just getting back you on this exchange. Your agreement not to ask about the "Baxter
Investigation” or a post-incident "forward-looking, industry-wide analysis of various
engineering and legal issues" "directed by counsel" appears to be contingent on our
agreement that you are “free to ask questions regarding whether or why BP did or did not
conduct an investigation into the root and/or systemic and/or management failures and/or
causes of the Macondo disaster." . As you note and the Court has ruled, the “Baxter
investigation" was not an investigation of the cause of the Macondo accident, “whether it be
systemic or otherwise...”. Thus, and I say this with due respect, the contingent nature of
your request is inappropriate.

Again, please confirm that you will agree not to ask about the "Baxter Investigation" or a
post-incident "forward-looking, industry-wide analysis of various engineering and legal
issues" "directed by counsel." Aliso, we had also asked for your agreement not to pose any
questions about the privileged portion of the clawed back document. We assume if you agree
not to ask any questions about the project that would include not asking about any of its
analyses, including that privileged portion, but for clarity, and to obviate the need to seek
the Court's assistance on that point, please confirm your agreement not to do so.

Finally, please also confirm that you have removed the document from your exhibit list and
destroyed all copies, and that you have informed Bea and Gale about the redaction to their
report and will instruct Bea and Gale that the redacted material should not be referenced at
trial.

Thanks to you and the PSC for your attention to this issue.

J. Andrew Langan, P.Cc.

KIRKLAND & ELLIS LLP
306 North LaSalle Street Chicago, IL 60654
Tel. +1-312-862-2064 Fax +1-312-862-2200

andrew. Langan@kirkland.com

----- Original Message-----

From: Steve Herman [mailto:SHERMAN@hhkc.com]

Sent: Thursday, January 26, 2612 7:38 AM

To: Langan, Andrew

Cc: Jim Roy; dkhaycraft@liskow.com

Subject: MDL 2179 - supplemental submission on clawed-back document

Andy,

It was our understanding and belief that the Baxter Investigation was an investigation into
the root and/or systemic and/or management failures and/or causes of the Macondo disaster.

You said, and the Court agreed, that we were mistaken.

We will not inquire about the "Baxter Investigation” or a post-incident "forward-looking,
industry-wide analysis of various engineering and legal issues" "directed by counsel", if you
agree that we are free to ask whether or why BP did or did not conduct an investigation into

the root and/or systemic and/or management failures and/or causes of the Macondo disaster.

Thanks.
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From: Langan, Andrew [mailto:alangan@kirkland. com]
Sent: Wednesday, January 25, 2612 11:37 AM

Dear Steve:

As I understand it, the PSC argues it cannot refrain from such questioning because due
to the fact that BP has submitted detailed information only te the Court in camera, the PSC
has no idea whether it would be asking inappropriate questions regarding the “Baxter
project.” We disagree. First, the PSC knows enough about what the “Baxter investigation”
is to be able to refrain from questioning about it, whether it uses the words “Baxter
investigation” or not. In May 2011 when if first challenged the privilege claim over this
project and more recently in correspondence related to the clawback, BP has stated that the
project was “directed by counsel” that it “involved a forward-looking, industry-wide analysis
of various engineering and legal issues” and that “its purpose was to assist with the
provision of legal advice in various areas, including with respect to the defense of this
litigation “ and “in anticipation of other potential legal actions.” (May 4, 2011 Duffy Ltr.
to Hon. Sally Shushan) And the Court has twice now confirmed that the “Baxter investigation”
is privileged.

Second, the PSC knows what the “Baxter investigation” is not. As we have stated in
correspondence over the few months and as the Court has ruled, the Baxter work “is not an
investigation into the cause of this particular incident, whether it be systemic or
otherwise...” and “it is clearly unrelated to this incident.” (Shushan, J., May 13. Tr.
at 43:20-21; 45:4.)

The PSC’s suggestion that there is something inappropriately secretive about BP’s in
camera submissions to the Court underscores BP’s concerns about the trial: given that the
“Baxter investigation” is privileged, any questions at trial regarding that work (including
the analyses referenced in the clawback portion of the document) or questions aimed at the
existence of the project are improper. The point of such cross-examination would only be
to imply there is something untoward about the project or its privileged nature and we
believe such questioning is irrelevant, prejudicial and can only be an attempt to upend this
Court’s rulings on this issue.

Thus, we respectfully request that the PSC agree that it will refrain from questions at
trial regarding the “Baxter investigation” and its work (including privileged analyses
contained in the clawed-back document) or any description for that project regardless of
whether the words “Baxter investigation” are used. If we cannot secure such an agreement,
we will need to raise this with the Court (again).

Best regards

Andy

sane Original Message-----

From: Steve Herman [mailto:SHERMAN@hhkc.com]
Sent: Tuesday, January 24, 2012 8:58 PM

We don't know what the Baxter Investigation extends to; only you (and I guess Magistrate
Shushan) do. Are you saying you don't want us to use the words "Baxter Investigation"?

----- Original Message-----
From: Langan, Andrew [mailto:alangan@kirkland.com]
Sent: Tuesday, January 24, 2012 7:27 PM

Dear Steve -- given the directive to meet and confer re #3, here are some further thoughts
from our team:
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Given that Judge Shushan has twice now confirmed that the “Baxter investigation” is
privileged, we believe any questions at trial regarding that work or the existence of the
project are irrelevant and prejudicial. Critically, as we have stated to you in
correspondence and as the Court has ruled in no uncertain terms, the Baxter work “is not an
investigation into the cause of this particular incident, whether it be systemic or
otherwise...” and “it is clearly unrelated to this incident.” (Shushan, J., May 13. Tr.
at 43:20-21; 45:4.) Any questions at trial suggesting otherwise would be in contravention
of the Court’s ruling and are therefore improper. Thus, we have asked the Court to order
all parties to refrain from cross-examination at trial regarding the privileged “Baxter
Investigation.”

On #1 and #2, we greatly appreciate the PSC following up as it has (see a and b in your note
below) and has committed to do. There may be other parties that need to take similar steps,
but we will address them separately and then with the Court as needed.

Best regards

Andy

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deleting it from your system. Thank you.
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EXHIBIT B
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Nomellini, Mark J.

From: ° Raines, Carolyn [CRaines@GodwinRonquillo.com]

Sent: Wednesday, January 25, 2012 8:51 AM

To: Nomellini, Mark J.

Cc: Toledo, Erika; jmartinez@GodwinRonquillo.com; Hays, Susan; Sramek, Frank J.; French,
Yates; Langan, Andrew

Subject: RE: Clawed Back Doc on HES! TREX List - Resending

Mark,

We will remove this document from our exhibit list and destroy the copies.
Thanks

Carolyn

GODWIN RONQUILLO PC

Carolyn R. Raines

1201 Elm Street, Suite 1700

Dallas, Texas 75270-2041

214.939.4452 Direct (800.662.8393 Toll Free)
214.527.3137 Fax
CRaines@GodwinRonquillo.com
GodwinRonquillo.com

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From: Nomellini, Mark J. [mailto:mnomellini@kirktand.com]

Sent: Wednesday, January 25, 2012 7:16 AM

To: Raines, Carolyn

Cc: Toledo, Erika; Martinez, Jenny; Hays, Susan; Sramek, Frank J.; French, Yates; Langan, Andrew

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Subject: Re: Clawed Back Doc on HESI TREX List - Resending
Importance: High

Jenny, Carolyn, Erika, and Susan: please respond as we intend to raise with the Court as soon as this am. Thank
you.

From: Nomellini, Mark J.

Sent: Tuesday, January 24, 2012 05:02 PM

To: Raines, Carolyn <CRaines@GodwinRonquillo.com>

Ce: Toledo, Erika <EToledo@GodwinRonquillo.com>; jmartinez@GodwinRonquillo.com; Hays, Susan
<SHays@GodwinRonauillo.com>; Sramek, Frank J.; French, Yates

Subject: Clawed Back Doc on HESI TREX List - Resending

Carolyn,

The privileged documents discussed in the email chain below are also designated as part of a Halliburton Trial
Exhibit. Please confirm that Halliburton will remove this privileged portion of Trial Exhibit #02351 (BP-HZN-
2179MDL01474966-8} from its exhibit list and destroy all copies of these documents.

From: Steve Herman [mailto:SHERMAN@hhke.com]

Sent: Monday, January 23, 2012 09:42 PM

To: Langan, Andrew

Cc: 'Sally_Shushan@laed.uscourts.gov' <Sally_Shushan@laed.uscourts.gov>; Mike O'Keefe
<Mike_OKeefe@laed.uscourts.gov>; dsc2179@liskow.com <dsc2179@liskow.com>+} liaison2179@liskow.com
<liaison2179@liskow.com>; Jim Roy <jimr@wrightroy.com>;: CMaze@ago.state.al,us; Allan Kanner

<a. kanner@kanner-law.com>; Mike.Underhill@usdoj.gov

Subject: MDL 2179 - supplemental submission on clawed-back document

Dear Andy,

(a) We don’t disagree, but, practically speaking, we are not sure exactly what this
means. Do you want us to submit an entire new Exhibit List with that one entry deleted?

I don’t know if inData even has a copy of the document. But it seems like it would
make more sense to simply insure that the only image inData has re that (former) Exhibit
is a blank sheet of paper that says something like: “Privileged” “Removed” (7?) (And
presumably the Final Master Exhibit List reflecting ultimately provided to the Court for
the record would not reflect its admission.)

(b) Jim & I have instructed our team, Will follow up.

(c) As Mr. Duffy noted, (at p.45 of the May 13" Discovery Conference Transcript), the
privilege is generally defined in terms of specific documents or other communications.
While a directive, or a question, or a conclusion may be privileged, the fact that an
investigation took place generally would not be. Even assuming that there may be

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questions regarding the so-called “Baxter Investigation” that might be inappropriate, it is
certainly appropriate for the plaintiffs to question whether (and/or why and/or how) an
investigation by BP into the systemic, root, management causes did, or did not, take
place. For example, you have agreed that the facts reflected in the attached two-page
summary are admissible, even though I believe that some of the communications
associated with these facts have been excluded as privileged. Particularly since the
nature and scope of the “Baxter Investigation” was presented to the Court in camera, and
is known only to BP, it would be hard for us to know which questions would be “out of
bounds” (if any).

Thanks, and best wishes, - Steve

From: Langan, Andrew [mailto:alangan@kirkland.com]
Sent: Monday, January 23, 2012 8:44 PM
Subject: MDL 2179 -- supplemental submission on clawed-back document

Dear Judge Shushan:

I write to respectfully seek amplification and/or clarification regarding your Order of today (Doc. No.
5324) denying the PSC’s challenge to BP’s clawback of BP-HZN-2179MDL01464760-62. Your
Honor may recali that BP submitted a letter to the Court on January 11 (Doc. No. 5154) (attached) --a
day before the PSC submitted its clawback challenge -- referencing not only the PSC’s intention to
challenge BP’s clawback request, but also the PSC’s inclusion of an unredacted duplicate of BP-HZN-
2179MDLO01464761 on its trial exhibit list and the PSC’s insistence that the Baxter Investigation
nonetheless may be a subject of cross-examination at trial.

To that end, BP’s January 11 correspondence requested that the Court order the PSC, and every
additional party, to:

(a) remove the clawed back document (BP-HZN-2179MDLO01474967) from their exhibit list,

(b) confirm the destruction of both versions of the clawed back document (BP-HZN-
2179MDL01464760-62 and BP-HZN-2179MDL01474966-68); and

(c) refrain from cross-examination at trial regarding the "Baxter Team's" privileged investigation.

While we understand from today’s order (Doc No. 5324) that the Court has denied the PSC’s challenge
to BP’s clawback of BP-HZN-2179MDLO1464760-62 and BP-HZN-2179MDL01474966-68, we would
appreciate Your Honor’s amplification and/or clarification as to whether the order encompasses the
additional relief sought in BP’s January 11 correspondence as set forth above. To the extent your Honor
did not intend today’s order to address the additional relief sought in BP’s January 11 correspondence,
BP respectfully requests that the Court grant its request for this additional relief and Order the PSC, and
every additional party, to remove the clawed back document (BP-HZN-2179MDL01474967) from their
exhibit list and refrain from cross-examination at trial regarding the "Baxter Team's" privileged
investigation.

Thank you for your time and attention to this matter. For the Court’s convenience, I have attached BP’s
correspondence of January 11 regarding this issue. Our related letter of January 18 was submitted
under seal.

Respectfully submitted,
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Andy Langan

J. Andrew Langan, P.C.

KIRKLAND & ELLIS LLP

300 North LaSalle Street Chicago, IL 60654
Tel. +1-312-862-2064 Fax +1-312-862-2200

andrew. iangan@kirkland.com

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